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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )
                                                 )             8:08CR371
                       Plaintiff,                )
                                                 )
       vs.                                       )             ORDER
                                                 )
ROLAND AWOUSSI and                               )
MABEL AWOUSSI,                                   )
                                                 )
                       Defendants.               )
       This matter is before the court on the motion for an extension of time by defendant
Mabel Awoussi (Awoussi) (Filing No. 25). Awoussi seeks until December 1, 2008, in which
to file pretrial motions in accordance with the progression order. Awoussi has filed an
affidavit wherein she consents to the motion and acknowledges she understands the
additional time may be excludable time for the purposes of the Speedy Trial Act (Filing No.
26). Awoussi's counsel represents that government's counsel has no objection to the
motion. Upon consideration, the motion will be granted and the pretrial motion will be
extended as to both defendants.


       IT IS ORDERED:
       Defendant Awoussi's motion for an extension of time (Filing No. 25) is granted. Both
defendants are given until on or before December 1, 2008, in which to file pretrial motions
pursuant to the progression order. The ends of justice have been served by granting such
motion and outweigh the interests of the public and the defendant in a speedy trial. The
additional time arising as a result of the granting of the motion, i.e., the time between
November 10, 2008 and December 1, 2008, shall be deemed excludable time in any
computation of time under the requirement of the Speedy Trial Act for the reason
defendant's counsel requires additional time to adequately prepare the case, taking into
consideration due diligence of counsel, and the novelty and complexity of this case. The
failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(8)(A) & (B).
       DATED this 10th day of November, 2008.
                                                 BY THE COURT:
                                                 s/Thomas D. Thalken
                                                 United States Magistrate Judge
